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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

Pennsylvania National Mutual Casualty

Insurance Company,

Petitioner
No. 18 MC 278

V.

New England Reinsurance Corporation and
Hartford Fire Insurance Company,
Respondents

 

ORDER

AND NOW, this 2Aday of Mere 2018, upon consideration of Petitioner,

Pennsylvania National Mutual Casualty Insurance Company’s Motion to Seal Confidential
Documents and any response thereto it is hereby ORDERED that said Motion is GRANTED

and that Exhibits A, B, and C to Petitioner’s Petition to Confirm Arbitration Award shall be filed

under seal. It is further ORDERED that any future filings in this action that include these

documents shall also be filed under seal.

SO ORDERED

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